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Exhibit G

Karnati Statement to Probation Department
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Page 4: Describe how you feel about this offence

After working for 6+ long years in United States | gained very best professional experience with
customer interactions, presentations & technology. Being an entrepreneurial enthusiastic right
from beginning | watch all the Shark tank episodes. | am always Inspired by many young
entrepreneurs like Mark Cuban , Aston Kutcher . After attending entrepreneurial work shop in
Louisville, KY by founder & CEO of FUBU , Daymond John | am very much motivated and fired
up with excitement. | started meeting great people and small business owners/leaders asking
for IT projects like website development or App development which helps their business
growth. In the process | got introduced to the student referral program to universities which is
the successful existing line of business with less risk. As Many state universities also has the
student referral program, | thought of giving it a try. Over the period | am blessed to have very
good accredited universities in my portfolio. Very much down the line | think by the early fall of
2017 | heard about University of Farmington from few students asking whether | have it in my

portfolio.

 

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Like any other individual , to add any university to my portfolio | framed a criteria of standards.
1) University Accreditation 2) Whether approved by respective enforcement agencies. When |
rm researched the website of University of Farmington.

1) The website has impressive description with the history of university, motivational logo
"SCIENTIA ET LABORE" which means "Through Knowledge and Work".

2) The university has prestigious accreditations "Accrediting Commission of Career Schools and
Colleges (ACCSC)" and the "Michigan Department of Licensing and Regulatory Affairs (MDLRA)"

3) A statement saying "A nationally accredited institution authorized to enroll international
students by the U.S. Department of Homeland Security"

it fits perfectly in my criteria of standards. Thought it would be good to have it in my portfolio
of universities.

| the process | got to know about Santosh through a student and contacted him by the fall of
2017. Since then | placed at bottom of my current list of universities. For long time | was with
impression that it is same as all the other universities. Much Later | got to know there are no
physical classes. However still it is very much fine because almost all the universities offering
online degrees to give more flexibility to balance work/life and education. It's the student's
choice which university to choose,

Very much later | got to know only online study would not suffice the immigration needs for
ony student status but | believed university of farmington will fortify itself very soon as it is start up
university with respect to foreign students.

 

 

 
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Overlooking this criteria was my mistake and | accept the responsibility for this.

The student referral at all not primary occupation or source of income. | work in respectable
position for a great multi national company Humana Inc. | work all day for almost 8-10 hrs a day
at the office and get busy taking care of my family and kids activities in the evenings. The idea
to do any further research on that matter never stuck my mind. | was completely carried away
by the fact that In this great country the system and enforcement authorities will ensure that
the respective organization will follow certain rules and regulations and accreditation agencies
will perform timely audits to ensure the standards. My mind intuitively believed that there
couldn't be a fake organization on this land which is communicating with government agencies
like USCIS/DHS all the time and working with accreditation agencies ensuring standards.

Now a days when | visit a Doctor's office or Lawyers office | am looking around on all the walls
to find their original degree like a mad person. However what can | do, my sub-conscious mind
is forcing me to do so and | am unable to control it. | pray God that , no individual should ever

be or encounter my situation.

Page 4: What impact has your behavior has on
others ?

My two sweet kids are meaning to my life. On the Detroit airport, | was put to the wall,
searched, shackled in front of everybody and paraded me all across the airport while everyone
is watching. That was the most shameful & embarrassing moment | ever had in my life. | was
shown on television. All my dignity, social respect, and confidence which | gained in all my life
through my dedication, hard work and education have been lost at that moment, | see no

purpose of my life.

My kids future and smile on their faces are the only reason for me and my wife's survival today.
They are the only purpose of our life.

After this traumatic incident | am extremely conscious and ensure my situation would not have
any impact on my family. | try to keep myself cool and be happy with my kids so they don't get
to know me and my wife’s sufferings.

 

 
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Page 4: What influenced your involvement in this
offence ? (i.e. peers, personal circumstances)

| am not influenced by anyone. My trust in people, my trust in agencies, my entrepreneurial
mindset and my enthusiasm & rush to become an entrepreneur cursed me back. It is an honest
business mistake. | unknowing did the wrong, however my intentions were never wrong. |
overlooked some facts as they were beyond my thoughts. | never expected or got to my
imaginations that there could be a wrong university around us. Because intuitively we trust &
believed the system or accreditation agencies would take care of standards and genunity of
university and relied on it.

Page 4: What could you have done differently to
avoid you finding yourself in this situation? What
can you do differently in the future to avoid finding
yourself in a similar situation?

This question haunted me all the time since | was indicted. Following are things | would have
done differently

1) | shouldn't have pushed myself to be an entrepreneur when | don't have time to understand
all the nitty-gritty of the business.

2) | shouldn't have blindly trusted what is written on the University website
3) | shouldn't have blindly trust accreditations have given/claimed by the universities

4) | should have gone for a personal visit to the university and get the confirmation about the
mode of class (like.. Physical only, Online only, Physical & Online)

5) The fact that university is receiving necessary immigration approval from United States
Immigration Services(USCIS) made me believe that it is legitimate.

6) When | got to know that only online study wouldn't suffice for Immigration needs, | should
have alerted the respective enforcement agencies instead of believing it would be corrected
soon by the university.

 

 
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7) Shouldn't have trusted the universities admission directors assurance merely by word (eg: He
assured, they are planning to purchase a building to start the physical classes and Inviting
Investors to expand)

 

 
